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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------------- X
                                                                       :
UNITED STATES OF AMERICA                                               :
                                                                       :
                  -v-                                                  :      20-CR-135 (JMF)
                                                                       :
ALEXANDER ARGUEDAS, et al,                                             :          ORDER
                                                                       :
                                    Defendants.                        :
                                                                       :
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JESSE M. FURMAN, United States District Judge:

       There is a proceeding in this matter scheduled for November 2, 2020. Counsel are directed to
confer and, within three business days of this Order, submit a joint letter indicating their views on
whether the proceeding should be held or if it should be adjourned (and, if so, for how long). If either
party believes that the proceeding should be held, counsel should explain why and indicate their views
on (1) whether the proceeding should be held in person or remotely (mindful of the complications
inherent in holding either kind of conference given the number of Defendants in this case); and
(2) whether, if permitted Court under the Constitution, the Federal Rules, and the CARES Act, each
Defendant consents to a remote proceeding and/or to waiving his/her appearance altogether. If any
Defendant is detained, counsel should identify the facility or facilities in which the Defendant or
Defendants are held; if any Defendant is not detained, counsel should indicate whether the Defendant
or Defendants would be capable of participating in a remote proceeding. Counsel is advised that, for
the foreseeable future, some facilities (including the Metropolitan Correctional Center and the
Metropolitan Detention Center) may require that any inmate appearing in court be quarantined
for 14 days upon returning from their appearance.

        After reviewing the parties’ joint letter, the Court will issue an order indicating whether the
proceeding will be held and, if so, how; and addressing any other relevant deadlines and information.
If a proceeding is held, it may have to be at a different time. To that end, counsel should indicate in
their joint letter dates and times during the week of the currently scheduled proceeding that they would
be available for a proceeding, whether in person or remote. In the event of a remote proceeding,
counsel should review and comply with the Court’s Emergency Individual Rules and Practices in Light
of COVID-19, available at https://nysd.uscourts.gov/hon-jesse-m-furman.

        SO ORDERED.

Dated: October 19, 2020                                    __________________________________
       New York, New York                                           JESSE M. FURMAN
                                                                  United States District Judge
